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                            Declaration of
                        Elizabeth McNamara
                               Exhibit 33
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                          MAHENDRA AMIN, M.D.
                          MAHENDRA AMIN,      vs NBCUNIVERSAL
                                         M.D. vs NBCUNIVERSAL MEDIA,
                                                                MEDIA, LLC
                                                                       LLC
                                     Andrew Free
                                     Andrew Free on  08/15/2023
                                                  on 08/15/2023                                                         ·

 ·1·
  1  · · · · ·IN
              IN THE
                  THE UNITED
                      UNITED STATES
                             STATES DISTRICT
                                    DISTRICT COURT
                                              COURT
 · · · · · · ·FOR
              FOR THE
                   THE SOUTHERN
                       SOUTHERN DISTRICT
                                DISTRICT OF
                                         OF GEORGIA
                                             GEORGIA
 ·2
  2

 ·3
  3
 · · ·MAHENDRA AMIN, M.D.,
      MAHENDRA AMIN, M.D.,· · · ·§§ CIVIL ACTION FILE
                                    CIVIL ACTION FILE NO.
                                                      NO.
 ·4·
  4  · · · · · · · · · · · · · · § 5:21-CV-00056-LGW-BWC
                                    5:21-CV-00056-LGW-BWC
 · · · · · · · · · · · · · · · · §
 ·5·
  5  · · · · · · · · · · · · · · §§
 · · · · · · · ·Plaintiff,·
                Plaintiff,   · · ·§
                                  §
 ·6·
  6  · · · · · · · · · · · · · · §
 · · · · ·vs.·
          vs.  · · · · · · · · · §
 ·7·
  7  · · · · · · · · · · · · · · §§
 · · · · · · · · · · · · · · · · §§
 ·8·
  8  · · · · · · · · · · · · · · §
 · · ·NBCUNIVERSAL MEDIA, LLC,·
      NBCUNIVERSAL MEDIA,  LLC,  ·§
                                  §
 ·9·
  9  · · · · · · · · · · · · · · §
 · · · · · · · · · · · · · · · · §§
 10·
 10  · · · · · · · · · · · · · · §
 · · · · · · · ·Defendant.·
                Defendant.   · · ·§
                                  §
 11·
 11  ·~~~~~~~~~~~~~~~~~~~~~~~~~
        N   ,... ,,,,,   ,,, ,...,,,,   ,,, ,,, ,,, ,,, ,,, ,,, ,,, ,,, ,,, ,,, ,,, ,,, ,,, ,...".. ,....N




 12·
 12  · · · · · · · ·VIDEOTAPED
                    VIDEOTAPED DEPOSITION
                               DEPOSITION OF
                                          OF
 · · · · · · · · · · · · ·ANDREW
                          ANDREW FREE
                                 FREE
 13
 13

 14
 14

 15·
 15  · · · · · · · · · · 9:44
                          9:44 a.m. EST
                               a.m. EST
 · · · · · · Tuesday, the 15th
             Tuesday, the  15th day
                                day of  August, 2023
                                    of August,  2023
 16
 16

 17
 17
 · · · · · · · · · · · · · Suite  1600
                           Suite 1600
 18·
 18  · · · · · · · ·999
                    999 Peachtree
                        Peachtree Street,
                                   Street, NE
                                           NE
 · · · · · · · · · · · ·Atlanta,
                        Atlanta, Georgia
                                  Georgia
 19
 19

 20
 20

 21
 21
 · · · · · Blanche
           Blanche J.
                   J. Dugas,
                      Dugas, RMR,
                             RMR, CRR,
                                  CRR, CCR
                                       CCR No. B-2290
                                           No. B-2290
 22
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 ·1· ·Zoom and I was, too.· Or maybe it was Teams, you know,
 ·2· ·a video communication.· That's what I recall.· But
 ·3· ·those -- those would have been multiple e-mails.                I
 ·4· ·don't know the number, but multiple phone calls.
 ·5· · · · · · After Irwin was being announced by Secretary
 ·6· ·Mayorkas as being closed, Ms. Gilbert reached out to
 ·7· ·me and asked if we wanted -- the DOJ wanted to restart
 ·8· ·investigative interviews, which had stopped
 ·9· ·essentially, if there were witnesses.· So who would be
 10· ·available.· So that would have been, like, May of
 11· ·2021, something like that.
 12· · · ·Q.· ·And did interviews take place after
 13· ·May 2021?
 14· · · ·A.· ·I don't know.· I informed Ms. Gilbert that I
 15· ·had taken a step back much earlier actually and that
 16· ·she could speak with those folks' counsel.· So that's,
 17· ·you know, the folks that they ultimately retained to
 18· ·help, you know, file habeas cases and then file other
 19· ·litigation and that's who they would need to speak
 20· ·with.
 21· · · ·Q.· ·When you say you had taken a step back, do
 22· ·you mean from Irwin County Detention Center matters or
 23· ·the law or --
 24· · · ·A.· ·Specifically, Irwin County Detention Center.
 25· ·I was in the throes of resolving a death matter in

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 ·1· ·early 2021, doing depositions in February and
 ·2· ·resolution in March, April.· And it was sort of
 ·3· ·those -- those months that the burnout of Irwin really
 ·4· ·started to become apparent to me.· And so, you know,
 ·5· ·just in terms of, like, having so much going on.· It
 ·6· ·was a big undertaking in September and October.
 ·7· · · ·Q.· ·To your knowledge, how many women actually
 ·8· ·had a hysterectomy performed by Dr. Amin who were at
 ·9· ·Irwin County Detention Center?
 10· · · ·A.· ·Two.
 11· · · ·Q.· ·And who were those?
 12· · · ·A.· ·Barbara and B.J.'s other client, I think.
 13· ·I'm not sure who that person was, as I sit here today.
 14· · · ·Q.· ·You mentioned earlier that there were women
 15· ·who had said that they had hysterectomies and then it
 16· ·turned out that they hadn't.· Do you recall that?
 17· · · ·A.· ·Yes.· I think I said that they thought they
 18· ·had hysterectomies, that that's what they understood
 19· ·their procedure was.
 20· · · ·Q.· ·How many women would you say fall into that
 21· ·category?
 22· · · ·A.· ·You know, in the early days, it was a lot.
 23· ·I mean, it was more than half a dozen folks.· We can
 24· ·talk about why I think that happened.· I think it's
 25· ·been documented that sometimes Irwin staff were

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 ·1· ·telling people they were going for a hysterectomy.                 I
 ·2· ·don't think I documented that with the Senate.
 ·3· ·Cystectomy sounds a lot like hysterectomy, and I think
 ·4· ·if you're not given an interpreter in your
 ·5· ·consultation with a gynecologist, if you're in chains,
 ·6· ·if you've got a guard sitting next to you while
 ·7· ·they're shoving a wand inside of you and you're not
 ·8· ·given any paperwork in the language of, you know, your
 ·9· ·fluency, it's tough to know what happened, especially
 10· ·when there's basically no postop protocol where folks
 11· ·are being given care after they're put under the
 12· ·knife.
 13· · · · · · I should say he was the only gynecologist
 14· ·who was regularly treating women at Irwin, and I do
 15· ·know that either Warden Paulk or Dr. McMahan said
 16· ·there were actually three who had hysterectomies, and
 17· ·moreover, that there were six who were scheduled for
 18· ·hysterectomies from 2017 to 2020 according to ICE and
 19· ·that Amin was the doctor who, according to the ICE
 20· ·records, was seeking those hysterectomies.
 21· · · · · · For context, there have only been 14 in the
 22· ·total ICE system and he only saw 4 percent of the
 23· ·female detained population and 6 percent of the
 24· ·gynecological patients.· So on 6 percent of the
 25· ·gynecological patients between 2017 and 2020, Irwin

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 ·1· ·ICE records show that six hysterectomies had been
 ·2· ·scheduled.
 ·3· · · · · · Some of those hysterectomies didn't happen
 ·4· ·because folks got deported.· At least one didn't.· And
 ·5· ·some of them hadn't because people refused.· I think
 ·6· ·unsuccessfully attempting a surgery that a woman
 ·7· ·didn't consent to, you know, I think it's misleading
 ·8· ·to say, I only did two if the reason you only did two
 ·9· ·is because people actually refused.
 10· · · ·Q.· ·There's no jury here, Mr. Free.· I've been
 11· ·very -- I've been trying to be respectful and let you
 12· ·tell me anything you want to tell me, but a lot of
 13· ·this is not responsive to my questions and I am
 14· ·limited in time.· So at some point, I am going to
 15· ·start objecting as nonresponsive and -- and talk to
 16· ·your counsel about cutting you off because I can't let
 17· ·you just give a closing argument to a jury.
 18· · · · · · MR. TOBIN:· And I object to your
 19· · · · instructions to my client.· He's trying to
 20· · · · answer your question.
 21· · · · · · MS. EVANS:· And I'm trying to be nice
 22· · · · about him not doing it.
 23· · · · · · MR. TOBIN:· He's completely doing his
 24· · · · best to answer.
 25· · · · · · MS. EVANS:· Well, he's -- I asked him

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 ·1· · · · a specific question and I got --
 ·2· · · · · · THE WITNESS:· I'm sorry.· I want to
 ·3· · · · make sure I do not do that again.· What was
 ·4· · · · the question you asked me so I can
 ·5· · · · understand?
 ·6· · · · · · MR. TOBIN:· Answer and let's move on
 ·7· · · · to the next question.
 ·8· · · · · · THE WITNESS:· I mean --
 ·9· · · ·Q.· ·(By Ms. Evans)· I think you answered my
 10· ·question, and then you did a lot more than that.
 11· · · · · · Did you have any direct communication -- and
 12· ·by direct communication, I mean either in person, on a
 13· ·video discussion or on the phone -- with any woman who
 14· ·told you that she thought she had a hysterectomy
 15· ·performed on her?
 16· · · ·A.· ·Yes.
 17· · · ·Q.· ·For any of those women, did you ask them
 18· ·whether they were still having their menstrual cycles?
 19· · · ·A.· ·I think that asking about menstruation was
 20· ·within -- again, you're asking about my conversations
 21· ·with my clients.· But I think that the -- I think that
 22· ·that was within the set of questions that we asked.
 23· ·We asked about bleeding.· Actually, let me just answer
 24· ·your question.
 25· · · · · · I think so is my answer to your question.

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 ·1· · · ·Q.· ·And did any of those women tell you yes?
 ·2· · · ·A.· ·I don't recall.
 ·3· · · ·Q.· ·When Law Lab went onsite at Irwin County
 ·4· ·Detention Center, do you know if they collected
 ·5· ·information from the clients -- or strike that.
 ·6· · · · · · When Law Lab went onsite at Irwin County
 ·7· ·Detention Center, do you know if they collected
 ·8· ·information from women who were detained there in
 ·9· ·writing?
 10· · · ·A.· ·I do.
 11· · · ·Q.· ·And -- and how did they do that?
 12· · · ·A.· ·How did they do what?
 13· · · ·Q.· ·Get information from the women in writing.
 14· ·Did they have a form of some kind?
 15· · · ·A.· ·Yes.
 16· · · ·Q.· ·Did you help prepare that form?
 17· · · ·A.· ·I did.
 18· · · · · · (Plaintiff's Exhibit 125 was marked
 19· · · · for identification.)
 20· · · ·Q.· ·(By Ms. Evans)· I'm going to hand you and a
 21· ·copy for your counsel and Ms. McNamara what I'm
 22· ·marking as Exhibit 125.
 23· · · · · · Is Exhibit 125 an example of one of those
 24· ·forms?
 25· · · ·A.· ·This is one example of forms that went to

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 ·1· ·women, but this happened a little bit later.· This was
 ·2· ·a little bit farther out from September 14th to 25th
 ·3· ·or something like that.
 ·4· · · ·Q.· ·When did it happen?
 ·5· · · ·A.· ·I would say early October, maybe late
 ·6· ·Sep- -- late September, maybe early October.
 ·7· · · ·Q.· ·But during the time period that Law Lab was
 ·8· ·onsite at Irwin County Detention Center?
 ·9· · · ·A.· ·Yes.
 10· · · ·Q.· ·You can see about middle ways through the
 11· ·page where it says, "You can also call" -- and then it
 12· ·gives a phone number -- "to fill out this survey on
 13· ·the phone if you are more comfortable."
 14· · · · · · Do you see that?
 15· · · ·A.· ·I do.
 16· · · ·Q.· ·Do you know where that phone number went to?
 17· · · ·A.· ·I think the line above it says, "Call
 18· ·Caitlin from the legal team at the same number."
 19· · · ·Q.· ·And is Caitlin at Law Lab?
 20· · · ·A.· ·No.
 21· · · ·Q.· ·Where is she?
 22· · · ·A.· ·Caitlin was a third-year law student at
 23· ·Columbia.
 24· · · ·Q.· ·When the women -- strike that.
 25· · · · · · If a woman who was at Irwin County Detention

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 ·1·
  1 ·I'm
     I'm answering
         answering the
                   the question that you
                       question that you didn't
                                         didn't ask,
                                                ask, so
                                                     so

 ·2·
  2 ·I'll shut up.
     I'll shut up.

 ·3·
  3 · · ·Q.·
         Q. ·No, it's fine.
             No, it's fine.· Well,
                             Well, I
                                   I --
                                     -- no.· And I
                                        no. And  I think
                                                   think

 ·4·
  4 ·we're fine.· I
     we're fine.  I just
                    just want to make
                         want to make sure I understand.
                                      sure I understand.
 ·5·
  5 · · · · · You're -- you're
              You're --        speculating.· You
                        you're speculating.      don't
                                             You don't

 ·6·
  6 ·have a specific
     have a          recall of
            specific recall of those conversations refers
                               those conversations refers
 ·7·
  7 ·to
     to your conversations with
        your conversations with the
                                the other attorneys, not
                                    other attorneys, not

 ·8·
  8 ·that
     that you
          you talked
              talked to representatives at
                     to representatives at MSNBC,
                                           MSNBC,
 ·9·
  9 ·NBCUniversal or NBC
     NBCUniversal or NBC News
                         News to put them
                              to put      in touch
                                     them in       with the
                                             touch with the
 10· ·attorneys.
 10   attorneys.

 11·
 11 · · ·A.·
         A. ·You're
             You're right.
                    right.

 12· · · ·Q.·
 12       Q. ·Okay.· Thank you.
              Okay. Thank  you.

 13· · · · · · Do
 13            Do you recall --
                  you recall -- or
                                or strike
                                   strike that.
                                          that.
 14· · · · · · I
 14            I know
                 know earlier
                      earlier you said you
                              you said     couldn't
                                       you couldn't

 15· ·recall
 15          -- never
      recall -- never mind.
                      mind.· Strike
                             Strike that.
                                    that.
 16· · · · · · Do
 16            Do you recall if
                  you recall if you connected those
                                you connected       other
                                              those other

 17· ·attorneys
 17             to Julia
      attorneys to       or to
                   Julia or to Jacob?
                               Jacob?

 18·
 18 · · ·A.·
         A. ·I don't recall
             I don't recall one
                            one way
                                way or the other.
                                    or the other.

 19· · · ·Q.·
 19       Q. ·You think it
              You think it was one of
                           was one of those
                                      those two?
                                            two?

 20·
 20 · · ·A.·
         A. ·I think it
             I think it was
                        was probably
                            probably Julia.
                                     Julia.

 21· · · ·Q.·
 21       Q. ·Did
              Did you ever have
                  you ever have any
                                any conversations
                                    conversations with
                                                  with
 22· ·Julia
 22         Ainsley or
      Julia Ainsley or Jacob Soboroff at
                       Jacob Soboroff at the same time
                                         the same time that
                                                       that

 23· ·one
 23       of the
      one of     other lawyers
             the other lawyers was on the
                               was on     line?
                                      the line?

 24·
 24 · · ·A.·
         A. ·Maybe.
             Maybe.

 25· · · ·Q.·
 25       Q. ·Do
              Do you have any
                 you have any specific
                              specific recollection
                                       recollection of
                                                    of

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 ·1·
  1 ·anything like that?
     anything like that?

 ·2·
  2 · · ·A.·
         A. ·No.
             No.

 ·3·
  3 · · ·Q.·
         Q. ·Which attorneys did
             Which attorneys did you put into
                                 you put into contact
                                              contact
 ·4·
  4 ·with either Julia
     with either       Ainsley or
                 Julia Ainsley or Jacob Soboroff?
                                  Jacob Soboroff?

 ·5·
  5 · · ·A.·
         A. ·I
             I can't
               can't give
                     give you
                          you an exhaustive list.
                              an exhaustive list.· I
                                                   I can
                                                     can

 ·6·
  6 ·tell
     tell you
          you the
              the ones
                  ones I
                       I can
                         can remember
                             remember sitting
                                      sitting here today.
                                              here today.

 ·7·
  7 ·Sarah, Mr. Osorio,
     Sarah, Mr.         maybe Elizabeth
                Osorio, maybe           Matherne, maybe
                              Elizabeth Matherne, maybe
 ·8·
  8 ·Kimberlee
     Kimberlee Payton
               Payton Jones.·
                      Jones. II think there are
                                think there are more,
                                                more, but
                                                      but I
                                                          I

 ·9·
  9 ·cannot
     cannot remember
            remember all
                     all of them.
                         of them.

 10· · · ·Q.·
 10       Q. ·Do
              Do you recall putting
                 you recall putting lawyers
                                    lawyers into
                                            into contact
                                                 contact
 11· ·with
 11        Xander Price
      with Xander Price at
                        at some
                           some point?
                                point?
 12·
 12 · · ·A.·
         A. ·No.·
             No. I'm
                  I'm not
                      not saying it didn't
                          saying it didn't happen.
                                           happen.                   I
                                                                     I

 13·
 13 ·just don't remember
     just don't          it.
                remember it.

 14· · · ·Q.·
 14       Q. ·Do
              Do you recall if
                 you recall if he
                               he asked
                                  asked you
                                        you to connect him
                                            to connect him
 15· ·to
 15      other attorneys?
      to other attorneys?
 16·
 16 · · ·A.·
         A. ·No.
             No.

 17· · · ·Q.·
 17       Q. ·Did Ms. Ainsley
              Did Ms. Ainsley ever
                              ever ask
                                   ask you if she
                                       you if she could
                                                  could
 18· ·speak
 18         to any
      speak to any of
                   of your clients?
                      your clients?

 19·
 19 · · ·A.·
         A. ·I don't remember.
             I don't remember.

 20· · · ·Q.·
 20       Q. ·What about Mr.
              What about Mr. Soboroff?
                             Soboroff?
 21·
 21 · · ·A.·
         A. ·Don't
             Don't remember.
                   remember.

 22· · · ·Q.·
 22       Q. ·What about Mr.
              What about Mr. Price?
                             Price?
 23·
 23 · · ·A.·
         A. ·I don't remember.
             I don't remember.

 24· · · ·Q.·
 24       Q. ·Do
              Do you recall your
                 you recall      conversation --
                            your conversation -- or
                                                 or strike
                                                    strike

 25· ·that.
 25   that.


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 ·1·
  1 · · · · · When
              When you spoke to
                   you spoke to either
                                either Ms.
                                       Ms. Ainsley
                                           Ainsley or
                                                   or
 ·2·
  2 ·Mr. Soboroff on
     Mr. Soboroff on September
                     September 15th,
                               15th, 2020,
                                     2020, did
                                           did you insist
                                               you insist

 ·3·
  3 ·that
     that your conversation with
          your conversation with them
                                 them be
                                      be on
                                         on background?
                                            background?
 ·4·
  4 · · ·A.·
         A. ·Insist is a
             Insist is a strong
                         strong word.·
                                word. The  standard
                                       The standard

 ·5·
  5 ·conversation that I
     conversation that I have
                         have with
                              with reporters is on
                                   reporters is on

 ·6·
  6 ·background.
     background.

 ·7·
  7 · · ·Q.·
         Q. ·Why is that?
             Why is that?

 ·8·
  8 · · ·A.·
         A. ·Because
             Because I'm in the
                     I'm in the practice
                                practice of
                                         of trying
                                            trying to
                                                   to

 ·9·
  9 ·share information that
     share information that people
                            people can
                                   can report
                                       report out
                                              out as
                                                  as

 10·
 10 ·opposed
     opposed to trying to
             to trying to get
                          get quoted
                              quoted and,
                                     and, you
                                          you know,
                                              know, soak
                                                    soak up
                                                         up

 11·
 11 ·the sort of
     the sort of attention that that
                 attention that that happened -- you
                                     happened -- you know,
                                                     know,

 12·
 12 ·happens
     happens to
             to bring.
                bring.

 13· · · ·Q.·
 13       Q. ·And what --
              And what -- what kind of
                          what kind of attention
                                       attention is
                                                 is that?
                                                    that?

 14·
 14 · · ·A.·
         A. ·I think that
             I think that as
                          as a matter of,
                             a matter     like, media
                                      of, like, media
 15·
 15 ·narrative
     narrative and
               and framing, there's a
                   framing, there's a certain
                                      certain way
                                              way you
                                                  you can
                                                      can

 16·
 16 ·tell
     tell a
          a story
            story where the person
                  where the person who's
                                   who's at the center
                                         at the center of
                                                       of

 17·
 17 ·the
     the harm is the
         harm is the person
                     person whose
                            whose voice is coming
                                  voice is coming out
                                                  out or
                                                      or

 18·
 18 ·the
     the person
         person who is closest
                who is closest to the harm
                               to the      is the
                                      harm is the person
                                                  person

 19·
 19 ·whose
     whose voice is coming
           voice is coming out,
                           out, and
                                and that
                                    that has
                                         has a
                                             a certain
                                               certain

 20·
 20 ·impact
     impact on the audience,
            on the audience, has
                             has certain implications for
                                 certain implications for

 21·
 21 ·the
     the reason
         reason you're telling the
                you're telling the story.· And there's
                                   story. And  there's

 22·
 22 ·another
     another way to do
             way to    it where
                    do it where attorney says, you
                                attorney says, you know,
                                                   know,

 23·
 23 ·lawyers
     lawyers are the sole
             are the sole people
                          people providing the information,
                                 providing the information,
 24·
 24 ·and
     and I
         I prefer the first
           prefer the first one.
                            one.

 25· · · ·Q.·
 25       Q. ·Did
              Did you share any
                  you share any names of clients
                                names of clients with
                                                 with

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 ·1·
  1 ·Ms. Ainsley or
     Ms. Ainsley or Mr.
                    Mr. Soboroff
                        Soboroff that
                                 that you recall?
                                      you recall?

 ·2·
  2 · · ·A.·
         A. ·I think so.
             I think so.
 ·3·
  3 · · ·Q.·
         Q. ·Who?
             Who?

 ·4·
  4 · · ·A.·
         A. ·During
             During which
                    which period
                          period of
                                 of time?
                                    time?

 ·5·
  5 · · ·Q.·
         Q. ·September 15th, 2020.
             September 15th, 2020.
 ·6·
  6 · · ·A.·
         A. ·Barbara, Marcia, Sarah's
             Barbara, Marcia, Sarah's client.·
                                      client. Can't
                                               Can't

 ·7·
  7 ·recall
     recall when the engagement
            when the engagement with
                                with Pauline
                                     Pauline began,
                                             began, whether
                                                    whether

 ·8·
  8 ·it
     it was
        was the
            the 15th
                15th or later.· I
                     or later.  I definitely
                                  definitely shared
                                             shared

 ·9·
  9 ·Pauline's
     Pauline's name,
               name, Pauline
                     Pauline Binam.·
                             Binam. Those
                                     Those are
                                           are the
                                               the ones
                                                   ones

 10·
 10 ·that
     that I
          I can
            can remember
                remember right
                         right now.
                               now.

 11· · · ·Q.·
 11       Q. ·You had a
              You had a relationship
                        relationship with -- or
                                     with -- or strike
                                                strike
 12· ·that.
 12   that.

 13· · · · · · You
 13                had worked
               You had worked with
                              with Julia -- both
                                   Julia -- both Julia
                                                 Julia

 14· ·Ainsley
 14           and Jacob
      Ainsley and       Soboroff prior
                  Jacob Soboroff prior to September 2020;
                                       to September 2020;
 15· ·right?
 15   right?

 16·
 16 · · ·A.·
         A. ·Yes.
             Yes.

 17· · · ·Q.·
 17       Q. ·And
              And you knew they
                  you knew      were affiliated
                           they were affiliated with NBC;
                                                with NBC;

 18· ·is
 18      that right?
      is that right?
 19·
 19 · · ·A.·
         A. ·I did.
             I did.

 20· · · ·Q.·
 20       Q. ·And
              And you know now
                  you know     and knew
                           now and knew then
                                        then that
                                             that
 21· ·Mr.
 21       Hayes was
      Mr. Hayes was also affiliated with
                    also affiliated      NBC?
                                    with NBC?

 22·
 22 · · ·A.·
         A. ·I did.
             I did.

 23· · · ·Q.·
 23       Q. ·Do
              Do you recall at
                 you recall at some
                               some point
                                    point speaking with
                                          speaking with

 24· ·Xander
 24          Price?
      Xander Price?

 25·
 25 · · ·A.·
         A. ·Yes.
             Yes.


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 ·1·
  1 · · ·Q.·
         Q. ·And
             And you
                 you were put in
                     were put in touch
                                 touch with
                                       with Mr.
                                            Mr. Price
                                                Price by
                                                      by
 ·2·
  2 ·Mr. Hayes; is
     Mr. Hayes; is that
                   that right?
                        right?
 ·3·
  3 · · ·A.·
         A. ·I
             I think
               think so.
                     so.

 ·4·
  4 · · ·Q.·
         Q. ·Did
             Did you ever tell
                 you ever      Mr. Free
                          tell Mr. Free that
                                        that you --
                                             you --

 ·5·
  5 ·you're Mr. Free
     you're Mr. Free --
                     -- strike
                        strike that.
                               that.
 ·6·
  6 · · · · · Did
              Did you ever tell
                  you ever      Mr. Price
                           tell Mr. Price that
                                          that you had
                                               you had

 ·7·
  7 ·been in contact
     been in contact with
                     with Julia Ainsley or
                          Julia Ainsley or Jacob Soboroff?
                                           Jacob Soboroff?

 ·8·
  8 · · ·A.·
         A. ·I
             I don't
               don't remember.
                     remember.

 ·9·
  9 · · ·Q.·
         Q. ·Any particular reason?
             Any particular reason?
 10·
 10 · · ·A.·
         A. ·That
             That I
                  I don't
                    don't remember?
                          remember?

 11· · · ·Q.·
 11       Q. ·Any particular reason
              Any particular reason --
                                    -- well,
                                       well, if
                                             if you don't
                                                you don't

 12· ·recall,
 12           I'll ask
      recall, I'll ask another question.
                       another question.

 13·
 13 · · · · · MR.
              MR. TOBIN:·
                  TOBIN: Thank
                          Thank you.
                                you.

 14· · · ·Q.·
 14       Q. ·(By Ms. Evans)
              (By Ms. Evans)· Do
                              Do you -- you
                                 you --     recall having
                                        you recall having
 15· ·a
 15     conversation at
      a conversation at some point with
                        some point with Mr.
                                        Mr. Price;
                                            Price; true?
                                                   true?

 16·
 16 · · ·A.·
         A. ·True.
             True.

 17· · · ·Q.·
 17       Q. ·And
              And that
                  that was
                       was on September 16th,
                           on September 16th, 2020?
                                              2020?
 18·
 18 · · ·A.·
         A. ·I
             I don't
               don't know
                     know the
                          the date.
                              date.

 19· · · ·Q.·
 19       Q. ·Have
              Have you ever seen
                   you ever      a transcript
                            seen a transcript of
                                              of your call
                                                 your call

 20· ·with
 20        Mr. Price?
      with Mr. Price?
 21·
 21 · · ·A.·
         A. ·I
             I have
               have not.
                    not.

 22· · · ·Q.·
 22       Q. ·I'm
              I'm sorry?
                  sorry?

 23·
 23 · · ·A.·
         A. ·I
             I have
               have not.
                    not.

 24· · · ·Q.·
 24       Q. ·Have
              Have you ever had
                   you ever     a transcript
                            had a transcript of
                                             of your call
                                                your call

 25· ·with
 25        Mr. Price
      with Mr. Price --
                     -- or
                        or strike
                           strike that.
                                  that.


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 ·1·
  1 · · · · · Are
              Are you aware that
                  you aware      there is
                            that there is a
                                          a transcript of
                                            transcript of

 ·2·
  2 ·your call with
     your call with Mr.
                    Mr. Price?
                        Price?
 ·3·
  3 · · ·A.·
         A. ·Based
             Based on the last
                   on the last question,
                               question, I'd say yes.
                                         I'd say yes.

 ·4·
  4 · · ·Q.·
         Q. ·Have
             Have you had --
                  you had -- ever
                             ever had
                                  had any
                                      any portions
                                          portions of
                                                   of
 ·5·
  5 ·that transcript read
     that transcript read to
                          to you?
                             you?

 ·6·
  6 · · · · · MR.
              MR. TOBIN:·
                  TOBIN: I'm
                          I'm going to instruct
                              going to instruct you
                                                you

 ·7·
  7 · · · not
          not to touch on
              to touch on anything
                          anything you may have
                                   you may have

 ·8·
  8 · · · discussed
          discussed with
                    with your
                         your attorneys.·
                              attorneys. If
                                          If you
                                             you can
                                                 can

 ·9·
  9 · · · answer the question
          answer the question outside
                              outside of that
                                      of that

 10·
 10 · · · attorney-client
          attorney-client privilege
                          privilege setting,
                                    setting, please
                                             please

 11·
 11 · · · go
          go ahead.
             ahead.

 12·
 12 · · · · · THE WITNESS:· Outside
              THE WITNESS:  Outside of
                                    of the
                                       the

 13·
 13 · · · attorney-client
          attorney-client privilege
                          privilege setting,
                                    setting, no.
                                             no.

 14· · · ·Q.·
 14       Q. ·(By Ms. Evans)
              (By Ms. Evans)· I
                              I just want to
                                just want to clarify
                                             clarify for
                                                     for
 15· ·the
 15       record.· You
      the record.      are raising
                   You are raising the
                                   the attorney-client
                                       attorney-client

 16· ·privilege
 16             as a
      privilege as a reason
                     reason not
                            not to answer the
                                to answer     question about
                                          the question about
 17· ·whether
 17   whether you have ever
              you have ever had
                            had any portions of
                                any portions of a
                                                a transcript
                                                  transcript
 18· ·of
 18      a call
      of a call from
                from you and Xander
                     you and Xander Price
                                    Price read
                                          read to
                                               to you; is
                                                  you; is

 19· ·that
 19        right?
      that right?

 20·
 20 · · · · · MR.
              MR. TOBIN:·
                  TOBIN: That's
                          That's not entirely
                                 not entirely

 21·
 21 · · · accurate.
          accurate.

 22·
 22 · · · · · MS.
              MS. EVANS:·
                  EVANS: Tell  me where
                          Tell me where I'm
                                        I'm wrong.
                                            wrong.

 23·
 23 · · · · · MR.
              MR. TOBIN:·
                  TOBIN: He  is not
                          He is not going to answer
                                    going to answer

 24·
 24 · · · any
          any question that would
              question that       -- he
                            would --    is not
                                     he is not going
                                               going

 25·
 25 · · · to
          to disclose
             disclose any information that
                      any information that he may
                                           he may


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 ·1·
  1 · · · have learned during
          have learned during a
                              a conversation
                                conversation with
                                             with his
                                                  his

 ·2·
  2 · · · counsel.
          counsel.· He's
                    He's free to answer
                         free to        the question
                                 answer the question

 ·3·
  3 · · · outside
          outside of
                  of that
                     that context.·
                          context. That
                                    That was
                                         was the
                                             the

 ·4·
  4 · · · purpose
          purpose for the instruction
                  for the instruction and
                                      and that's the
                                          that's the

 ·5·
  5 · · · basis
          basis for
                for the
                    the objection.
                        objection.

 ·6·
  6 · · ·Q.·
         Q. ·(By Ms. Evans)
             (By Ms. Evans)· Can
                             Can you answer the
                                 you answer     question
                                            the question

 ·7·
  7 ·about whether you've
     about whether        ever had
                   you've ever had any portions of
                                   any portions of a
                                                   a
 ·8·
  8 ·transcript of a
     transcript of a call
                     call between
                          between you
                                  you and Xander Price
                                      and Xander Price read
                                                       read
 ·9·
  9 ·to
     to you,
        you, without
             without violating
                     violating your
                               your attorney's instruction?
                                    attorney's instruction?

 10·
 10 · · ·A.·
         A. ·I
             I can
               can answer it.· The
                   answer it.  The answer is no,
                                   answer is no, outside
                                                 outside

 11·
 11 ·of
     of the
        the context -- context
            context -- context of the attorney-client
                               of the attorney-client

 12·
 12 ·privilege.
     privilege.

 13· · · ·Q.·
 13       Q. ·I'm going to
              I'm going to hand
                           hand you -- and
                                you -- and a copy for
                                           a copy for your
                                                      your

 14· ·counsel
 14           and Ms.
      counsel and Ms. McNamara
                      McNamara --
                               -- what's
                                  what's been
                                         been previously
                                              previously
 15· ·marked
 15          as Exhibit
      marked as Exhibit 67.
                        67.
 16·
 16 · · · · · MR.
              MR. TOBIN:·
                  TOBIN: Looks  like it's
                          Looks like it's a
                                          a 35-page
                                            35-page

 17·
 17 · · · document.
          document.· So
                     So if
                        if Ms.
                           Ms. Evans is going
                               Evans is       to ask
                                        going to ask

 18·
 18 · · · you
          you questions
              questions about it, I
                        about it, I would
                                    would suggest
                                          suggest

 19·
 19 · · · that
          that you
               you read it.
                   read it.

 20·
 20 · · · · · THE WITNESS:· Is
              THE WITNESS:     this separate
                            Is this separate from
                                             from

 21·
 21 · · · the
          the September
              September 16th
                        16th transcript that you're
                             transcript that you're

 22·
 22 · · · referring
          referring to?
                    to?

 23· · · ·Q.·
 23       Q. ·(By Ms. Evans)
              (By Ms. Evans)· I'm
                              I'm sorry?
                                  sorry?

 24·
 24 · · ·A.·
         A. ·You said earlier
             You said earlier there
                              there was
                                    was a
                                        a September
                                          September 16th
                                                    16th

 25·
 25 ·transcript.
     transcript.


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 ·1·
  1 ·STATE
     STATE OF
           OF GEORGIA:
              GEORGIA:

 ·2·
  2 ·COUNTY
     COUNTY OF
            OF FULTON:
               FULTON:

 ·3
  3

 ·4·
  4 · · · · · I
              I hereby
                hereby certify that the
                       certify that the foregoing
                                        foregoing

 ·5·
  5 · · · transcript
          transcript was
                     was reported,
                         reported, as
                                   as stated in the
                                      stated in the
 ·6·
  6 · · · caption,
          caption, and the questions
                   and the questions and
                                     and answers
                                         answers

 ·7·
  7 · · · thereto
          thereto were
                  were reduced to typewriting
                       reduced to typewriting under
                                              under

 ·8·
  8 · · · my
          my direction;
             direction; that
                        that the
                             the foregoing
                                 foregoing pages
                                           pages

 ·9·
  9 · · · represent
          represent a true, complete,
                    a true, complete, and
                                      and correct
                                          correct

 10·
 10 · · · transcript
          transcript of the evidence
                     of the evidence given
                                     given upon
                                           upon said
                                                said

 11·
 11 · · · hearing,
          hearing, and I further
                   and I further certify that I
                                 certify that I am
                                                am

 12·
 12 · · · not
          not of
              of kin
                 kin or
                     or counsel to the
                        counsel to the parties in the
                                       parties in the
 13·
 13 · · · case;
          case; am
                am not in the
                   not in the employ
                              employ of
                                     of counsel
                                        counsel for
                                                for

 14·
 14 · · · any
          any of
              of said
                 said parties;
                      parties; nor
                               nor am
                                   am I in any
                                      I in any way
                                               way

 15·
 15 · · · interested
          interested in
                     in the
                        the result
                            result of
                                   of said
                                      said case.
                                           case.

 16
 16

 17
 17

 18
 18
                                   1/2-a2,euz,   ./&k ,01-v)
 19
 19

 20·
 20 · · · · · · ·BLANCHE
                 BLANCHE J.
                         J. DUGAS,
                            DUGAS, CCR-B-2290
                                   CCR-B-2290

 21
 21

 22
 22

 23
 23

 24
 24

 25
 25


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